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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 24-CR-20494-ALTMAN(s)

UNITED STATES OF AMERICA
Vv.
DAVID WAYNE CURRIN JR.,

Defendant.
/

PLEA AGREEMENT

The United States Attorney’s Office for the Southern District of Florida (“this Office”) and
DAVID WAYNE CURRIN JR. (hereinafter referred to as the “defendant”) enter into the following
agreement:

1. The defendant agrees to plead guilty to Counts | and 2 of the Superseding
Indictment, which charge the defendant with Production of Visual Depictions Involving Sexual
Exploitation of Minors, in violation of Title 18, United States Code, Section 2251 (a) and (e) (Count
1) and Transportation of Visual Depictions Involving Sexual Exploitation of Minors, in violation
of Title 18, United States Code, Section 2252(a)(1) and (b)(1) (Count 2).

2. This Office agrees to dismiss Count 3 of the Superseding Indictment after
sentencing.

3, The defendant is aware that the sentence will be imposed by the Court after
considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
“Sentencing Guidelines”). The defendant acknowledges and understands that the Court will
compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

will be determined by the Court relying in part on the results of a pre-sentence investigation by the
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Court’s probation office, which investigation will commence after the guilty plea has been entered.

The defendant is also aware that, under certain circumstances, the Court may depart from the

advisory sentencing guideline range that it has computed, and may raise or lower that advisory

sentence under the Sentencing Guidelines. The defendant is further aware and understands that the

Court is required to consider the advisory guideline range determined under the Sentencing

Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted

to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either

more severe or less severe than the Sentencing Guidelines’ advisory range. Knowing these facts,

the defendant understands and acknowledges that the Court has the authority to impose any

sentence within and up to the statutory maximum authorized by law for the offenses identified in

paragraph 1 and that the defendant may not withdraw the plea solely as a result of the sentence

imposed.

4. The defendant also understands and acknowledges that the following statutory
penalties apply:

a. Imprisonment. On Count 1, pursuant to Title 18, United States Code,

Section 2251(a) and (e), the Court must impose a minimum term of

imprisonment of fifteen years and may impose a statutory maximum term

of imprisonment of thirty years. On Count 2, pursuant to Title 18, United

States Code, Section 2252(b)(1), the Court must impose a minimum term

of imprisonment of five years and may impose a statutory maximum term

of twenty years’ imprisonment. These sentences of imprisonment may be

run consecutively, for a total sentence of fifty years’ imprisonment.
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b. Supervised Release. On Counts | and 2, pursuant to Title 18, United States
Code, Section 3583(k), following any term of imprisonment, the Court must
impose a minimum term of supervised release of five years and may impose
a term of supervised released up to the statutory maximum term of life.

c. Fines. In addition, the Court may impose a fine of up to $250,000 on the
defendant.

d. Restitution. Pursuant to Title 18, United States Code, Sections 3663(a)(3),
3663A(a) and (b), 3664, 2248, and 2259, the defendant agrees to make full
restitution to all victims of his offenses as to all counts charged in the
Superseding Indictment, whether or not the defendant enters a plea of guilty
to such counts. Further, the defendant agrees to pay restitution to any of his
victims, for the entire scope of his criminal conduct, including but not
limited to all matters included as relevant conduct. The defendant
acknowledges and agrees that this criminal conduct (or relevant conduct)
includes any victim of any child pornography offenses, charged or
uncharged, under Chapter 110, United States Code, and any victim of any
violation of federal and/or state law committed by the defendant, including
any contact sexual offense.

Once the victims’ losses are calculated, pursuant to Title 18, United
States Code, Section 2259(b)(2)(B), the Court shall order restitution in an
amount that reflects the defendant’s relative role in the causal process that
underlies the victims’ losses, but not less than $3,000 per victim. The

defendant agrees and understands that any payment schedule imposed by
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the Court is without prejudice to the United States to take all actions and
take all remedies available to it to collect the full amount of the restitution.
Further, pursuant to Title 18, United States Code, Section 3664(d)(5), the
defendant agrees not to oppose bifurcation of the sentencing hearing if the
victims’ losses are not ascertainable prior to sentencing.

e. Special Assessments. In addition, the defendant also understands and
acknowledges that, pursuant to Title 18, United States Code, Section 3013,
a special assessment of $100 will be imposed on the defendant as to each
count of conviction. Further, pursuant to Title 18, United States Code,
Section 3014, the defendant is required to pay an additional special
assessment in the amount of $5,000. The defendant agrees that any special
assessment imposed shall be paid at the time of sentencing. If the defendant
is indigent, or otherwise financially unable to pay this special assessment
amount, the defendant agrees to present evidence to this Office and the
Court at the time of sentencing as to the reason for the defendant’s failure
to pay.

f. Assessment in Child Pornography Cases. Pursuant to Title 18, United States
Code, Section 2259A(a)(2), an assessment fee of not more than $35,000
may be imposed on the defendant. Pursuant to Title 18, United States Code,
Section 2259A(c), in determining the amount of this assessment, the Court
shall consider the factors set forth in Title 18, United States Code, Sections

3553(a) and 3572.
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5. This Office reserves the right to inform the Court and the probation office of all
facts pertinent to the sentencing process, including all relevant information concerning the offenses
committed, whether charged or not, as well as concerning the defendant and the defendant’s
background. Subject only to the express terms of any agreed-upon sentencing recommendations
contained in this agreement, this Office further reserves the right to make any recommendation as
to the quality and quantity of punishment.

6. This Office agrees that it will recommend at sentencing that the Court reduce by
two levels the sentencing guideline level applicable to the defendant’s offense, pursuant to Section
3E1.1(a) of the Sentencing Guidelines, based upon the defendant’s recognition and affirmative
and timely acceptance of personal responsibility. If at the time of sentencing the defendant’s
offense level is determined to be 16 or greater, this Office will file a motion requesting an
additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing Guidelines, stating
that the defendant has assisted authorities in the investigation or prosecution of the defendant’s
own misconduct by timely notifying authorities of the defendant’s intention to enter a plea of
guilty, thereby permitting the government to avoid preparing for trial and permitting the
government and the Court to allocate their resources efficiently. This Office, however, will not be
required to make this motion if the defendant: (1) fails or refuses to make a full, accurate and
complete disclosure to the probation office of the circumstances surrounding the relevant offense
conduct; (2) is found to have misrepresented facts to the government prior to entering into this plea
agreement; or (3) commits any misconduct after entering into this plea agreement, including but
not limited to committing a state or federal offense, violating any term of release, or making false

statements or misrepresentations to any governmental entity or official.
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7. The defendant agrees that the victims in this case have the legal right to be
reasonably heard at any public proceeding and agrees not to object to the victims’ oral or written
impact statements at these proceedings.

8. The defendant is aware that the sentence has not yet been determined by the Court.
The defendant also is aware that any estimate of the probable sentencing range or sentence that the
defendant may receive, whether that estimate comes from the defendant’s attorney, this Office, or
the probation office, is a prediction, not a promise, and is not binding on this Office, the probation
office or the Court. The defendant understands further that any recommendation that this Office
makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not
binding on the Court and the Court may disregard the recommendation in its entirety. The
defendant understands and acknowledges, as previously acknowledged in paragraph 2 above, that
the defendant may not withdraw his plea based upon the Court’s decision not to accept a sentencing
recommendation made by the defendant, this Office, or a recommendation made jointly by the
defendant and this Office.

9. The defendant agrees, in an individual and any other capacity, to forfeit to the
United States, voluntarily and immediately, any right, title, and interest to: (1) any property, real
or personal, that was used or intended to be used to commit or to facilitate the commission of such
violation; and (2) any property, real or personal, constituting or derived from any proceeds that
such person obtained, directly or indirectly, as a result of such violation, pursuant to Title 18,
United States Code, Section 981(a)()(G).

10. The defendant further agrees that forfeiture is independent of any assessment, fine,
cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

voluntarily agrees to waive all constitutional, legal, and equitable defenses to the forfeiture,
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including excessive fines under the Eighth Amendment to the United States Constitution. In
addition, the defendant agrees to waive: any applicable time limits for administrative or judicial
forfeiture proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the
forfeiture.

11. The defendant also agrees to fully and truthfully disclose the existence, nature and
location of all assets in which the defendant has or had any direct or indirect financial interest or
control, and any assets involved in the offenses of conviction. The defendant agrees to take all
steps requested by the United States for the recovery and forfeiture of all assets identified by the
United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon
request of all necessary and appropriate documentation to deliver good and marketable title,
consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,
civil or administrative forfeiture proceeding concerning the forfeiture.

12. The defendant understands that by pleading guilty, he will be required to register
as a sex offender upon his release from prison as a condition of supervised release pursuant to Title
18, United States Code, Section 3583(d). The defendant also understands that independent of
supervised release, he will be subject to federal and state sex offender registration requirements,
and that those requirements may apply throughout the defendant’s life. The defendant understands
that he shall keep his registration current, shall notify the state sex offender registration agency or
agencies of any changes to the defendant’s name, place of residence, employment, or student
status, or other relevant information. The defendant shall comply with requirements to periodically
verify in person the defendant’s sex offender registration information. The defendant understands
that he will be subject to possible federal and state penalties for failure to comply with any such

sex offender registration requirements. If the defendant resides in Florida, following release from
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prison, the defendant will be subject to the registration requirements of § 943.0435, Florida
Statutes. The defendant further understands that, under Title 18, United States Code, Section
4042(c), notice will be provided to certain law enforcement agencies upon the defendant’s release
from confinement following conviction.

13. Asacondition of supervised release, the defendant shall initially register with the
state sex offender registration in Florida and shall also register with the state sex offender
registration agency in any state where the defendant resides, is employed, works, or is a student,
as directed by the Probation Officer. The defendant shall comply with all requirements of federal
and state sex offender registration laws, including the requirement to update the defendant’s
registration information. The defendant shall provide proof of registration to the Probation Officer
within 72 hours of release from imprisonment.

14. This is the entire agreement and understanding between this Office and the
defendant. There are no other agreements, promises, representations, or understandings.

MICHAEL S. DAVIS
ACTING UNITED STATES ATTORNEY

Date: (/23/ 25 By: 2IDREA \~\W~

ILANA MALKIN
ASSISTANT UNITED STATES ATTORNEY

Date: | 23/2 By: (Wy Hoon

ALEXANDRA/HPFFMAN
COUNSEL F EFENDANT

Date: VES 6 By:

DAVID WAYNE CU
DEFENDANT
